        Case 5:05-cr-00558-JF        Document 25        Filed 05/15/06      Page 1 of 1




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 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,              )
                                            )               NO. CR-05-00558 JF
12                           Plaintiff,     )
                                            )
13   vs.                                    )               [PROPOSED]
                                            )               ORDER CONTINUING SENTENCING
14   MANUEL MIGUEL PEREZ and                )
     MANUEL HUMBERTO SOMOZA,                )
15                                          )
                              Defendants.   )
16   _______________________________________)
17            Upon stipulation of the parties and good cause appearing therefore, the sentencing hearing
18   for each of the defendants in the above-entitled matter is continued to June 28, 2006 at 9:00 a.m.
19
                5/15/06
20   Dated: _______________________                         _________________________________
                                                            JEREMY FOGEL
21                                                          United States District Judge
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